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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


  H. B.
                                                         Case No. 2:21-cv-20706
                 Plaintiff,

          v.

 Baila Sebrow

                 Defendant

           CERTIFICATE OF SERVICE OF MOTION FOR ATTORNEY FEES


                The undersigned certifies that on July 7, 2022, a true and correct copy of the

motion for attorney fees (DE 10) was served on Defendant, Baila Sebrow, by United States Mail

Priority Mail, Postage Prepaid to the said Defendant at 12 Beechwood Dr., Lawrence, New York

11559. I certify under penalty of perjury that the foregoing is true and correct.


Dated: July 7, 2022
       New York, New York
                                                      Respectfully submitted,

                                                      /s/Daniel Szalkiewicz
                                              By:     Daniel S. Szalkiewicz, Esq. (DS2323)




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